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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



  IN RE: NATIONAL PRESCRIPTION                                   MDL No. 2804
        OPIATE LITIGATION

         This document relates to:                         Hon. Dan Aaron Polster
   Cleveland Bakers & Teamsters Health
  & Welfare Fund, et al. v. Purdue Pharma,
                L.P., et al.
       Case No. 1:18-op-45432-DAP


DEFENDANTS AMERISOURCEBERGEN DRUG CORP., CARDINAL HEALTH, INC.,
   AND McKESSON CORP.’S MOTION TO DISMISS (FED. R. CIV. P. 12(b)(6))

       Pursuant to Case Management Orders One (Dkt. 232) and Four (Dkt. 485), Defendants

AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation

(collectively, “Distributors”) move to dismiss the Amended Complaint in the above-referenced

action with prejudice on the basis that it fails to state a claim upon which relief can be granted,

for the reasons given in the accompanying memorandum of law, which is incorporated herein.

       Pursuant to Case Management Order One Sections 2.g and 2.j, Distributors raise “only

those issues they believe are most critical” and do not waive and hereby preserve any defenses

not addressed in the motion and accompanying memorandum of law and reserve their rights “to

file an individual motion to dismiss” at the appropriate time.
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Dated: July 23, 2018                      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I, Geoffrey E. Hobart, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.

                                                   /s/ Geoffrey E. Hobart
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